           Case 1:18-vv-01653-UNJ Document 42 Filed 06/12/20 Page 1 of 5




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1653V
                                        UNPUBLISHED


    NANCY SPOTANSKI,                                         Chief Special Master Corcoran

                        Petitioner,                          Filed: May 13, 2020
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Damages Decision Based on Proffer;
    HUMAN SERVICES,                                          Influenza (Flu) Vaccine; Guillain-
                                                             Barre Syndrome (GBS)
                        Respondent.


Theodore J. Hong, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION AWARDING DAMAGES1

       On October 25, 2018, Nancy Spotanski filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered from Guillain-Barre Syndrome
(“GBS”) as a result of a September 30, 2016 influenza (“flu”) vaccination. Petition at 1,
6. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On November 15, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for GBS. On May 12, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $128,357.66.
Proffer at 2. In the Proffer, Respondent represented that Petitioner agrees with the


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:18-vv-01653-UNJ Document 42 Filed 06/12/20 Page 2 of 5



proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to
an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $128,357.66 (representing $125,000.00 for actual and projected
pain and suffering, with the award for projected pain and suffering reduced to net
present value, and $3,357.66 for past unreimbursable expenses) in the form of a
check payable to Petitioner. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
           Case 1:18-vv-01653-UNJ Document 42 Filed 06/12/20 Page 3 of 5



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                   )
    NANCY SPOTANSKI,                               )
                                                   )
                 Petitioner,                       )
                                                   )    No. 18-1653V
    v.                                             )    Chief Special Master Corcoran
                                                   )    ECF
    SECRETARY OF HEALTH AND HUMAN                  )
    SERVICES,                                      )
                                                   )
                 Respondent.                       )
                                                   )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On October 25, 2018, Nancy Spotanski (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), as amended. Petitioner alleged that she suffered Guillain-Barré

syndrome (“GBS”) as a result of an influenza (“flu”) vaccine administered to her on September

30, 2016. Petition at 1, 6.1 On November 14, 2019, the Secretary of Health and Human Services

(“respondent”) filed a Rule 4(c) Report recommending that compensation be awarded, and the

Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation

the following day. ECF No. 23; ECF No. 24.

I.       Items of Compensation

         A.     Pain and Suffering

         Respondent proffers that Nancy Spotanski should be awarded $125,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and




1
 Petitioner received a pneumococcal polysaccharide vaccine the same day. Exhibit (“Ex.”) 3 at
15, 42. She also received a Tdap vaccine on October 14, 2016. Ex. 3 at 11, 41.
               Case 1:18-vv-01653-UNJ Document 42 Filed 06/12/20 Page 4 of 5



suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          B.       Past Unreimbursable Expenses

          Evidence supplied by petitioner documents Nancy Spotanski’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $3,357.66, as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Nancy Spotanski should be made

through a lump sum payment as described below and requests that the Chief Special Master’s

decision and the Court’s judgment award the following2: a lump sum payment of $128,357.66,

representing compensation for pain and suffering ($125,000.00), and past unreimbursable

expenses ($3,357.66), in the form of a check payable to petitioner, Nancy Spotanski.

III.      Summary of Recommended Payments Following Judgment

          Lump sum payable to petitioner, Nancy Spotanski:                            $ 128,357.66

                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division




2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                   2
       Case 1:18-vv-01653-UNJ Document 42 Filed 06/12/20 Page 5 of 5



                                  CATHARINE E. REEVES
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  ALEXIS B. BABCOCK
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Sarah C. Duncan
                                  SARAH C. DUNCAN
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
                                  P.O. Box 146
                                  Benjamin Franklin Station
                                  Washington, D.C. 20044-0146
                                  Tel: (202) 514-9729
                                  Fax: (202) 616-4310
DATED: May 12, 2020




                                     3
